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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

SAMUEL A. WILLIAMS                                    CIVIL ACTION

VERSUS                                                NUMBER:

SKECHERS USA, INC.                                    SECTION:

                                                      DIVISION:




                                COMPLAINT FOR DAMAGES

TO THE HONORABLE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF LOUISIANA AND THE JUDGES THEREOF:

       The complaint of Samuel A. Williams, a person of the full age of majority, through

undersigned counsel, with respect represents that:

                                                 1.

       Plaintiff, Samuel A. Williams, is a resident of and domiciled in Franklinton, Washington

Parish, Louisiana, and within the jurisdiction of this Honorable Court.

                                                 2.

       Defendant, Skechers USA, Inc., is a corporation organized under the laws of a state other

than Louisiana, but, at all times pertinent hereto, it was authorized to do and/or doing business in

the State of Louisiana and within the jurisdiction of this Honorable Court.

                                                 3.

       At all times pertinent hereto, Defendant was engaged in the business of designing,

developing, manufacturing, marketing, distributing, and selling various types of shoes including,

but not limited to, the Model SN50125 BRTP shoe.




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                                                  4.

        On or about July 14, 2020, Plaintiff purchased a pair of Skechers Model SN50125 BRTP

shoe, size 13, at an Academy Sports & Outdoor store in Covington, Louisiana and within the

jurisdiction of this Honorable Court.

                                                  5.

        On or about December 23, 2020 in Franklinton, Washington Parish, Louisiana and within

the jurisdiction of the Honorable Court, as Plaintiff was proceeding up a ladder while wearing his

Skechers Model SN50125 BRTP shoes, a sharp piece of plastic in the heel of the right shoe

protruded through the inside of the heel and severed Plaintiff’s right Achilles tendon.

                                                  6.

        The aforesaid Skechers Model SN50125 BRTP shoe was designed, developed,

manufactured, assembled, packaged, marketed, distributed, and/or sold by Defendant.

                                                  7.

        Plaintiff’s injures and damages resulting from the aforesaid incident were legally and

proximately caused by the fault of Defendant and its officers, agents, employees, and those for

whom it is legally responsible.

                                                  8.

        Defendant, under all applicable laws including, but not limited to, the Louisiana Products

Liability Act, LSA-R.S. 9:2800.51, et seq., is liable unto Plaintiff for all of his injuries and damages

for designing, developing, manufacturing, marketing, distributing, and/or selling a product,

particularly, the aforesaid Skechers Model SN50125 BRTP shoe that Plaintiff was wearing at the

time of his injury, which shoe was defective and unreasonably dangerous in design, construction

or composition, because inadequate warnings about the product had not been provided, and/or

because the shoe did not conform to an express warranty of the manufacturer about the fitness of


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said product, and this defective and unreasonably dangerous shoe caused Plaintiff’s injuries and

damages.

                                                 9.

       As a result of the fault of Defendant and its defective and unreasonably dangerous Model

SN50125 BRTP shoe, Plaintiff sustained a severed right Achilles tendon; he has suffered severe

physical pain, keen mental anguish and emotional distress; he has required extensive and painful

treatment for his injury and the serious residuals thereof; he will require additional medical

treatment, including surgery, and related care in the future; he has suffered residual and permanent

disabilities and impairments, physical, mental, and emotional; he has been caused to lose sums of

money he otherwise would have earned and he continues to have earnings loss and/or a diminished

earning capacity; he has been handicapped in his everyday activities; he has incurred medical,

hospital and related bills and he will incur additional such expenses in the future; all for which

Plaintiff is entitled to recover from Defendant all amounts reasonable in the premises.

                                                10.

       Plaintiff asserts his claims under the laws of the State of Louisiana and under any other

state or federal statutes which may be applicable.

                                                11.

       Jurisdiction of this matter is based upon diversity of citizenship, 28 U.S.C. §1332(a)(2),

and the matter in controversy, exclusive of interest and costs, exceeds the sum of $75,000.

       WHEREFORE, Plaintiff, Samuel A. Williams, prays that Defendant, Skechers USA, Inc.,

be served with a copy of this Complaint for Damages and that after due proceedings are had,

Plaintiff prays for judgment in his favor and against Defendant in all amounts reasonable under

the premises, with legal interest thereon from date of judicial demand, for all costs of these

proceedings, and for all appropriate legal and equitable relief.


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                                        Respectfully submitted,

                                        GAINSBURGH, BENJAMIN, DAVID,
                                        MEUNIER & WARSHAUER, L.L.C.

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                                               Attorneys For Plaintiff, Samuel A. Williams


PLEASE SERVE:

Skechers USA, Inc. (Pursuant to the Louisiana Long Arm Statute)
225 S. Sepulveda Boulevard
Manhattan Beach, California 90266




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